                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION
                                      5:17-cv-511-FL

 EPIC GAMES, INC. and EPIC GAMES                 )
 INTERNATIONAL S.r.l.                            )
           Plaintiff,                            )
                                                 )    NOTICE DIRECTING PLAINTIFF TO
                 v.                              )   PROCEED AFTER ENTRY OF DEFAULT
                                                 )
 B.B.                                            )
                 Defendant.                      )



        The docket in this action indicates that default was against defendant B.B. on April 20,

2018. Please proceed in accordance with Rule 55(b) of the Federal Rules of Civil Procedure to

reduce this matter to judgment. If no steps are taken within 21 days of receipt of this notice, the

court will require you to show cause why this action should not be dismissed as to defendant B.B.

for failure to prosecute.

        This the 23rd day of May, 2018.


                                             /s/ Peter A. Moore, Jr.
                                             Clerk of Court




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